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November 16, 2020
Via CM/ECF and Electronic Mail
Hon. John P. Cronan
U.S. District Court for the Southern District of New York
500 Pearl St.
New York, NY 10007
Re:      Moore, et al v. Cohen, et al., 1:19-cv-4977-JPC
Dear Judge Cronan:
       The parties in the above-referenced case respectfully submit this joint letter pursuant to
the Court’s order of October 13, 2020, requiring the parties to submit a joint report updating the
Court on the status of the case (ECF No. 83).
      1. Current Counsel
         The names and contact information of counsel is correctly reflected on the docket.
      2. Nature of the Case and Principal Defenses
        Plaintiffs Judge Roy Moore and Kayla Moore assert claims for defamation (Judge Moore
only), intentional infliction of emotional distress (both plaintiffs) and fraud (both plaintiffs)
against Defendants Sacha Baron Cohen, Showtime Networks, Inc., and CBS Corporation (n/k/a
ViacomCBS Inc.) based on Judge Moore’s appearance in a television program called “Who is
America?” (the “Program”).
              a. Plaintiffs:
        Defendants in their recitation below seek to improperly relitigate matters that have been
adjudicated multiple times before Judge Andrew Carter. His rulings are law of the case.
Plaintiffs will file a supplement to this status report within three days confirming this in detail as
their counsel just received Defendants’ latest attempt to have a third bite of the apple.

              b. Defendants:
        Plaintiffs’ claims fail for multiple reasons, both legal and factual. On November 13,
2020, Defendants filed a letter (ECF No. 90) requesting a pre-motion conference for an early
motion for summary judgment on two principal grounds: First, Plaintiffs’ claims are barred in
their entirety by the Standard Consent Agreement (“SCA”) that Judge Moore signed as a
condition of appearing on the Program. In that document, Judge Moore expressly waived and
agreed not to bring any claims against “anyone associated with the Program” that are “related to
the Program or its production,” including, among other specifically enumerated claims, the three
claims asserted in this action: “infliction of emotional distress (whether allegedly intentional or
negligent),” “defamation (such as any allegedly false statements made in the Program),” or
“fraud (such as any alleged deception about the Program or this consent agreement).” See SCA ¶
4. In the SCA, Judge Moore also disclaimed any reliance upon “any promises or statements
made by anyone about the nature of the Program or the identity, behavior, or qualifications of
any participants, cast members, or other persons involved in the Program.” Id. ¶ 5. In Psenicska
v. Twentieth Century Fox Film Corp., the Second Circuit affirmed enforcement of nearly


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identical contractual language in claims brought by dissatisfied participants in the Borat movie
(also created by and starring Defendant Cohen), and held that the same disclaimer language
precluded the plaintiffs from arguing that they were fraudulently induced into signing the
agreements. 409 F. App’x 368 (2d Cir. 2009). In addition, in this case, the District Court for the
District of Columbia enforced the forum selection clause in the SCA to transfer this case from
that court, where Plaintiffs first filed the case, to this Court.1
        The second ground on which summary judgment can be granted at this stage is that the
claims fail under the First Amendment, which precludes claims based on harm to reputation
(whether styled as defamation, infliction of emotional distress (“IIED”), or fraud claims) where
the statements at issue “could not reasonably have been interpreted as stating actual facts” about
a plaintiff. See Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 50, 51-52 (1988). No reasonable
viewer of the program could have believed that an obviously fictional character played by a
famous comedian known for performing outlandish stunts possessed an actual “pedophile
detector device” that was “detecting” that Judge Moore was a sex offender. In any event, courts
have long recognized First Amendment protection for political satire of public figures and
officials, like Judge Moore, even where that satire is “vehement, caustic, … [or] unpleasantly
sharp.” Id. And even beyond the First Amendment principles, Plaintiffs have failed to even
adequately allege—and cannot possibly prove—the elements of an IIED or fraud claim,
including because they do not identify the type of “extreme and outrageous conduct” necessary
to sustain an IIED claim under New York law, and do not identify any out-of-pocket pecuniary
losses, which are required to establish a fraud claim.
        As set forth in Defendants’ pre-motion letter, Judge Carter denied the motion to dismiss
because the facts necessary to establish the applicability of SCA (specifically information about
the relationship of the party that signed the SCA with the Defendants) were outside the scope of
what he could consider on a Rule 12 motion. But Defendants have now produced the necessary
documents to establish those facts, and can proceed directly to summary judgment on these two
grounds.
        If the parties are required to engage in full discovery, Defendants will move for summary
judgment on at least two additional grounds. First, upon a full evidentiary record, Plaintiffs will
be unable to establish that Defendants made any factual statement about Judge Moore (who is a
public official and public figure) with “actual malice”—that is, “with knowledge that it was false
or with reckless disregard of whether or not it was false. N.Y. Times Co. v. Sullivan, 376 U.S.
254, 280 (1964). The allegations against Judge Moore were reported extensively in multiple,
reputable news sources, including Pulitzer Prize winning reporting in the Washington Post.
Plaintiffs will not be able to show that Defendants had any subjective doubt about the veracity of
these allegations. Second, based on this reporting, it appears likely that Defendants will be able
to establish that, to the extent the segment of the Program contained any factual statements about
Judge Moore, those statements were substantially true, which also precludes liability.




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 Although the other plaintiff, Mrs. Moore, did not personally sign the SCA, its provisions are enforceable against
her for multiple reasons, including because her claims are “closely related to” and, in fact, completely derivative of,
Judge Moore’s claims. See ECF No. 65 (addressing viability of Mrs. Moore’s claims).

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    3. Jurisdiction
       Jurisdiction is proper on the basis of diversity of citizenship pursuant to 28 U.S.C. §
1332, as follows:
        Plaintiffs are citizens of Alabama.
        Defendant Sacha Baron Cohen is a citizen of California.
        Defendant Showtime Network, Inc. is incorporated and has its principle place of business
         in New York.
        Defendant CBS Corporation (n/k/a ViacomCBS Inc.) is incorporated and has its principle
         place of business in New York.
        Plaintiff is seeking damages in excess of $95,000,000.
    4. Deadlines
       The deadline for completion of discovery is February 21, 2021. No other deadlines have
yet been set.

    5. Previously Scheduled Conferences with the Court
       There are no previously scheduled conference dates with the Court that have not yet
occurred.
    6. Outstanding Motions
     Defendants have filed a letter requesting a pre-motion conference for a motion for
summary judgment.
    7. Pending Appeals
         There are no pending appeals.
    8. Discovery Undertaken to Date
         The parties exchanged initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1).
       Plaintiffs have served requests for the production of documents from Defendants.
Defendants have served written responses and objections and made an initial document
production.
         Defendants have served interrogatories and requests for the production of documents to
Plaintiffs. Plaintiffs have served responses and objections to that discovery, and have made an
initial document production.
         No depositions have yet been noticed or taken place.
         Defendants Position On Discovery: As set forth in Defendants’ pre-motion conference
letter, Defendants believe that further discovery should be stayed pending resolution of its
contemplated motion for summary judgment. Defendants have produced corporate records and
state filings establishing that the entity that signed the SCA was a validly formed LLC wholly


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owned by Defendant Cohen through certain intermediate production companies, of which he is
ultimately the sole member. These documents resolve the open factual issues that prevented the
Judge Carter from granting Defendants’ motion to dismiss. Defendants believe that this early
motion for summary judgment will avoid a number of discovery disputes between the parties
regarding the appropriate scope of discovery.
    9. Settlement Discussions
       The parties had brief settlement discussions after the case was first transferred to this
Court in August 2019, but were unable to reach resolution.
    10. Alternative Dispute Resolution
       Defendants’ Position on Alternative Dispute Resolution: Given the important First
Amendment issues at stake, the merits of their defenses, and Plaintiffs’ demands in the initial
discussions, Defendants do not believe that mediation or other alternate dispute resolution
mechanisms would be productive at this stage.

    11. Length of Trial
         The parties estimate that trial will last ten (10) days.
Respectfully Submitted,
Davis Wright Tremaine LLP
/s/Elizabeth A. McNamara
Counsel to Defendants

Klayman Law Group
/s/ Larry Klayman
Counsel to Plaintiffs




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